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IN THE UNITED sTATEs DISTRICT coURT ---- -»-
FoR THE wEsTERN DISTRICT oF TENNESSEE
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MAR¥ ANN LAZAR ,
Plaintiff,
vs. Civ. No. 03-2868-5[?

EZPAWN TEN'NESSEE, INC.,

Defendant.

 

ORDER DENYING DEFENDANT'S MOTION FOR AMENDMENT OF SCHEDULING
ORDER

 

Before the court is defendant's Motion for Amendment of
Scheduling Order, filed July 22, 2005 (dkt #25). In the motion,
defendant asks the court to amend the scheduling order to allow
defendant additional time to obtain written discovery and to take
the depositions of the plaintiff, her mother, and plaintiff's
sister. These are the defendant's first set of written discovery
requests, and were not sent to the plaintiff until after the
discovery period closed, even though the court had previously
granted defendant's request to extend discovery. No depositions
have been noticed by the defendant. The trial is set to begin on
October 31, 2005.

On, August l, 2005, the plaintiff filed her response in

opposition to the motion. On September l, 2005,r the court held a

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hearing on the motion. Counsel for all interested parties were
present and heard. At the hearing, the court concluded that
defendant has failed to show good cause to amend the scheduling
order, and furthermore, any extension of the discovery period.would
prejudice the plaintiff, whose case has been pending since November
2003. Thus, the motion is DENIED.

IT IS SO ORDERED.

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TU'M. PHAM
United States Magistrate Judge

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Date ‘

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
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Louis J. Miller

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Honorable J. Breen
US DISTRICT COURT

